     Case 1:16-cv-02193-EGS-ZMF Document 92 Filed 09/30/22 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


NEIBERGER, et al.,

                  Plaintiffs,
                                        Civ. Action No. 16-2193 (EGS)
v.

ISLAMIC REPUBLIC OF IRAN

                  Defendant.

                                  ORDER

     For the reasons stated in the Memorandum Opinion issued on

September 26, 2022, it is hereby

     ORDERED that Magistrate Judge Faruqui’s Report and

Recommendation, ECF No. 78, is ADOPTED in full; and it is

further

     ORDERED that Plaintiffs’ Motion for Default Judgment and

Damages, ECF No. 8, is GRANTED IN PART and DENIED IN PART and

that JUDGMENT BY DEFAULT is entered against Defendants and in

favor of Plaintiffs in the amount of $455,217,367 as set forth

in Exhibit A to Magistrate Judge Faruqui’s Report and

Recommendation, ECF No. 78.

     SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           September 30, 2022




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